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 6                          UNITED STATES DISTRICT COURT
 7                         WESTERN DISTRICT OF WASHINGTON
 8
                                     AT SEATTLE

 9
   UNITED STATES OF AMERICA, )
10                               )
                Plaintiff,       )               CASE NO.       CR06-319JLR
11                               )
           v.                    )
12 NGUYEN NHAT LE,               )               ORDER DENYING MOTION FOR
                                 )               DETENTION REVIEW
13                               )
                Defendant.       )
14 ______________________________)
15
16            The Court having considered Defendant’s motion for reconsideration of release on
17 bail and bond, makes the following determination:
18            The defendant, Nguyen Nhat Le through his attorney Jeffrey Steinborn, requests
19 a review of the Court’s detention order dated October 2, 2006. Dkt. #114. The Court has
20 reviewed its order detaining the defendant, and the applicable section of the Bail Reform Act,
21 Title 18, Section 3142. While the defense moves for reconsideration of bail or bond, there
22 is a predicate in determining if a review hearing will be granted, that is, whether the person
23 is likely to flee or poses a danger to the safety of any person or the community. 18 U.S.C.
24 Section 3143(a)(1) and (2).
25            Defense counsel argues that “Mr. Le needs to be out on bond, pending sentencing
26 to make arrangements for the safety of his family.” Counsel does not present any law in


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 1 support of this proposition and how it meets the test under the statute. In the absence of legal
 2 support, the motion and oral argument are denied.
 3            DATED this 23rd day of February, 2007.
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                                                          MONICA J. BENTON
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                                                          United States Magistrate Judge
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